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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION
BRIAN MOORE, et al.,
Plaintiffs,
v. CASE NO. C2-08-224
JUDGE GREGORY L. FROST
MAGISTRATE JUDGE TERENCE P. KEMP
JENNIFER BRUNNER,
in her Official Capacity as
Ohio Secretary of State,
Defendant.

LIBERTARIAN PARTY OF OHIO, et al.,
Plaintiffs,
CASE NO. C2-08-555
v. JUDGE EDMUND A. SARGUS, JR.
MAGISTRATE JUDGE NORAH MCCANN KING
JENNIFER BRUNNER,
in her Official Capacity as
Ohio Secretary of State,
Defendant.

ORDER
The Motion to Consolidate of Defendant Secretary of State Jennifer Brunner
(Doc. 25) in Case No. C2-08-224 and the Motion to Consolidate of Defendant Secretary of State
Jennifer Brunner (Doc. 20) in Case No. C2-08-555 are GRANTED.
Case No. C2-08-224 and Case No. C2-08-555 are hereby consolidated and

assigned to Judge Edmund A. Sargus, Jr.

IT IS SO ORDERED.
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GREGORY L. FROST EDMUND A. SARGUS, JR.

United States District Judge United States District Judge

